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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION


 TURBINE POWERED TECHNOLOGY L                     CASE NO. 6:19-CV-00475
 LC

 VERSUS                                           JUDGE DOUGHTY

 DAVID CROWE ET AL                                MAGISTRATE JUDGE WHITEHURST


                                      REMOVAL ORDER

         Considering the removal of this action, formerly Case No. , Judicial District Court, Parish
 of , under 28 U.S.C. 1447(b) and the obligation of this Court to proceed with the litigation, it is
 necessary that the Court have a complete record of all proceedings in the State Court as well as an
 opportunity to consider those matters not previously ruled upon by the State Court, and
 accordingly,

        IT IS ORDERED that:

        (1)     Within thirty (30) days the party who removed this action shall electronically file
                with the Clerk of Court:

                (a)    a list of all attorneys involved in the case and the parties they represent,

                (b)    copies or electronic images of all records and proceedings occurring in the
                       State Court prior to removal, arranged by order of filing date,

                (c)    a list of all documents included in the State Court record, arranged by
                       order of filing date,

                (d)    a certificate by counsel that the above constitutes the entire State Court
                       record.

                NOTE: If (a), (b), (c) and (d) above have already been filed, duplicates are
                unnecessary.

        (2)     If motions or exceptions were pending in State Court at the time of removal, such
                motions or exceptions must be refiled in proper form and in accordance with LR 7.
                Counsel may adopt by reference a brief or memorandum previously filed in State
                Court. Failure to refile these motions or exceptions will constitute their
                abandonment as if they were never filed.
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        (3)    If funds are being held by the State Court for benefit of the litigants, counsel for the
               removing defendant is directed to make arrangements to have such funds paid into
               the registry of this Court. Please note that this only applies to what is commonly
               known as “registry funds.” Funds on deposit with the State Court to cover accrued
               costs should not be transferred to Federal Court.

         IT IS FURTHER ORDERED that any attorney appearing as counsel of record in this action
 who is not presently admitted to practice before the United States District Court for the Western
 District of Louisiana exercise one of the following options within twenty (20) days:

        (1)    File an Application to Practice in this Court;

        (2)    File a Motion for Admission Pro Hac Vice pursuant to Local Rule 83.2.6; or

        (3)    Secure substitute counsel admitted to practice in this court for the party presently
               being represented.


                                       18th
        THUS DONE in Chambers on this _________          April
                                                day of ________________, 2019.




                                                                 Carol B. Whitehurst
                                                            United States Magistrate Judge




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